                  Case 1-17-44506-cec                  Doc 20         Filed 02/06/18   Entered 02/06/18 14:49:32




                                                                                       Ted Eric May, Esq.
                                                                                        MEMBER OF NEW YORK, NEW JERSEY, PENNSYLVANIA, FLORIDA AND D.C. BAR




                                                                              February 6, 2018

  Chief Judge Carla E. Craig
  U.S. Bankruptcy Court, EDNY
  Conrad B. Duberstein Courthouse
  271-C Cadman Plaza East - Suite 1595
  Brooklyn, NY 11201-1800

                                         Re:                  Avi E. Foox
                                         Case#:               17-44506

  Your Honor:

        Our office represents, Rushmore Loan Management Services, LLC, in the above referenced matter. We
  are in receipt of the Debtor’s loss mitigation request.

          As of today, my client has not received a financial package to review.

        In order for Rushmore Loan Management Services, LLC, to review for any loss mitigation options they
  require the following:
     1. A brief letter outlining the events that led to your current hardship, any proof documenting it, and your
        intentions toward the property.
     2. Pay stubs for each borrower for the last month.
     3. Copies of your most recent bank statements for each bank account for the last month.
     4. The most recent year’s tax return, all schedules and W2’s.
     5. Most recent statement for any 401K, IRA, mutual funds etc.
     6. Completed Financial package attached.

          Thank you.
                                                                              Very Truly Yours,

                                                                              /S/Ted Eric May, Esq.
                                                                              Ted Eric May, Esq.
  TEM;kl




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